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  Barstool Sports

  Domain: www.barstoolsports.com and https://store.barstoolsports.com
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  Teespring, Inc.

  Domain: www.teespring.com
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  The Boston Sports Co.

  Domain: http://www.ilovebostonsports.com/
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  ISlide USA

  Domain: www.islideusa.com
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  RMC Apparel, LLC

  Domain: www.celticssocial.com
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  TeeShirtPalace.com

  Domain: www.teeshirtpalace.com
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  Redbubble, Inc.

  Domain: www.redbubble.com
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  It's My Style

  Domain: www.its-mystyle.com
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  Etsy

  Domain: www.etsy.com
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Case 2:18-cv-06637-KAM-ARL Document 14-5 Filed 03/14/19 Page 19 of 30 PageID #: 252




   Amazon

   Domain: www.amazon.com
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Case 2:18-cv-06637-KAM-ARL Document 14-5 Filed 03/14/19 Page 21 of 30 PageID #: 254
Case 2:18-cv-06637-KAM-ARL Document 14-5 Filed 03/14/19 Page 22 of 30 PageID #: 255
Case 2:18-cv-06637-KAM-ARL Document 14-5 Filed 03/14/19 Page 23 of 30 PageID #: 256
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